                    IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF KANSAS


IN RE:
      Erin Noel Higgins-Richardson

                           Debtor                  Case No: 18-20502-13


                       NOTICE OF WITHDRAWAL OF TRUSTEE'S
                               MOTION TO DISMISS




  COMES NOW the Chapter 13 Trustee, W.H. Griffin, and hereby advises the Court that the
Motion to Dismiss filed on July 25, 2019 is hereby withdrawn.



    Dated: July 26, 2019                         s/W.H. Griffin, Chapter 13 Trustee
                                                   W.H. Griffin #08060
                                                   5115 ROE BLVD
                                                   SUITE 200
                                                   ROELAND PARK, KS 66205-2393
                                                   (913) 677-1311
                                                   (913) 432-7857 (Fax)
                                                   inquiries@13trusteekc.com



                                CERTIFICATE OF MAILING

   I, the undersigned, do hereby certify that a true and attested copy of the above and foregoing
Withdrawal has been forwarded to the Debtor and Debtor's Attorney either electronically or by
U.S. Mail, first class postage prepaid, on July 26, 2019.

Erin Noel Higgins-Richardson
21805 W 54th St                                  s/W.H. Griffin, Chapter 13 Trustee
Shawnee, KS 66226                                  W.H. Griffin #08060
                                                   5115 ROE BLVD
                                                   SUITE 200
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                 Case 18-20502       Doc# 48     Filed 07/26/19     Page 1 of 1
